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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED     STATES         OF   AMERICA,      )               CASE NO. 8:06CR19
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
JUAN VARGAS,                                 )
                                             )
             Defendant.                      )

      This matter is before the Court on the motion filed by Assistant Federal Public

Defender Jessica P. Douglas to allow her and her office to withdraw from further

representation of the Defendant (Filing No. 180).

      The motion assumes that a sentence reduction was anticipated pursuant to the

recent sentencing guideline affecting crack cocaine offenses. However, this offense

involved powder cocaine. Because the case does not involve crack cocaine and no motion

for a crack cocaine reduction has been filed in this case, the Federal Public Defender has

not been appointed for that purpose. GENERAL ORDER 2008-02 (appointing the Federal

Public Defender for pending or impending cases involving the retroactive crack cocaine

guideline amendment). Therefore, the motion to withdraw is denied as moot.

      IT IS ORDERED that the motion filed by Assistant Federal Public Defender Jessica

P. Douglas to allow her and her office to withdraw from further representation of the

Defendant (Filing No. 180) is denied as moot.

      DATED this 16th day of April, 2008.

                                                 BY THE COURT:

                                                 S/Laurie Smith Camp
                                                 United States District Judge
